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                          U NITED STATES DISTR ICT C O URT
                          SO UTH ERN DISTRICT O F FLO RID A

                        CA SE N O .17-24284-CIV-K1N G/SIM ON TON

 M ICH AEL FOX ,
 on behalfofhim selfand
 allothers sim ilarly situated,

        Plaintiff,



  TH E RITZ-CARLTON
  H OTEL COM PAN Y ,LLC,

        D efendant.


                              REFERR AL TO M A G ISTR ATE

        Upon consideration,the undersigned U nited StatesD istrictJudge doeshereby

  referDefendant'sM otionto DismissAmended ClassActionComplaint(D.E.#22),sled
  M arch 12,2018,in the above-styled case to theH onorable A ndrea M .Sim onton,United

  StatesM agistrateJudgefortheSouthernDistrictofFlorida,fora1lsuchjudicial
  proceedings as are perm issibleundertheM agistrates'A ctand the RulesofCourtforthe

  Southern DistrictofFlorida.
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            DONE AND ORDERED inchambersatthcJamesLawrenceKingFederalJustite
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  Building and United StatesCourthouse,M iam i,Florida,this25thday ofA pril,2018.
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  cc:       M agistrate JudgeA ndrea M .Sim onton
            A 1lCounselofRecord
